      Case 8-17-77348-reg      Doc 20    Filed 03/15/18     Entered 03/15/18 16:56:38




                                                          March 15, 2018

BY ELECTRONIC CASE FILING AND
E-MAIL: REG_HEARINGS@NYEB.USCOURTS.GOV
Honorable Robert E. Grossman
United States Bankruptcy Court
Eastern District of New York
260 Federal Plaza
Central Islip, New York 11722

       Re:    Robert M. Patchell
              Chapter 7
              Case No. 17-77348 (REG)
              Our File No. 10000-177


Dear Judge Grossman:

        We are the proposed attorneys for Kenneth P. Silverman, Esq., the chapter 7 trustee
(the “Trustee”) of the estate of Robert M. Patchell (the “Debtor”).

        A hearing in this case is currently scheduled for April 2, 2018 at 9:30 a.m. on the
Application to Employ SilvermanAcampora LLP as Attorneys for the Chapter 7 Trustee, which
was filed on December 21, 2017 (the “Application”) [ECF Doc. No.: 12].

       Please be advised that the Trustee has subsequently determined that there are no
assets to be administered and intends to file a Trustee’s Report of No Distribution.

       Therefore, the Trustee hereby withdraws the Application and respectfully requests that
this matter be removed from the Court’s April 2, 2018 calendar.

       If Your Honor has any questions, please do not hesitate to have a member of Your staff
contact me.

                                                          Very truly yours,

                                                          s/ Justin S. Krell

                                                          Justin S. Krell

cc:    Kenneth P. Silverman, Esq., the Chapter 7 Trustee (w/o encl.)




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